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 In the United States Court of Federal Claims
                            OFFICE OF SPECIAL MASTERS
                                    No. 20-0131V


 JULIA CONROY,                                     Chief Special Master Corcoran

                    Petitioner,
 v.                                                Filed: February 12, 2021

 SECRETARY OF HEALTH AND
 HUMAN SERVICES,

                    Respondent.


                SCHEDULING ORDER - SPECIAL PROCESSING UNIT

      A telephonic status conference was held on February 10, 2021. Leigh Rosser
appeared on behalf of Petitioner, and Adriana Teitel appeared on behalf of Respondent.
The status conference was convened to discuss the progress of this case.

       During the call, a brief procedural summary of this matter was given. It was noted
that this case was initiated and released from PAR in February 2020. ECF Nos. 1, 8.
Following the initial status conference held March 31, 2020, Respondent was ordered to
file a status report confirming that Respondent’s counsel had completed an informal
assessment of the claim and providing an estimate of the time needed for Respondent’s
medical review. ECF No. 11. Respondent did so on June 1, 2020 indicating that (based
on an attorney record review) an issue that may require additional development or support
had been identified: Although Petitioner alleged a left shoulder injury, the vaccination
record shows that the vaccine was administered in her right arm. ECF No. ECF No. 15.
Respondent acknowledged that Petitioner filed text messages, emails, and a witness
affidavit in support of her assertion. Id. On July 22, 2020, Petitioner submitted her demand
to Respondent. ECF No. 16.

        At the status conference, Petitioner’s counsel shared that her client has not
received any additional treatment for her shoulder and that all medical records have been
filed. Further, Respondent’s counsel confirmed her April 30, 2021 estimate for the
completion of medical review.

      The parties were reminded that cases assigned to SPU should not remain idle for
extended periods of time, unless it is very evident that settlement will occur. Therefore, if
Respondent is unable to state how he will proceed in this case on or around April 30,
2021, Petitioner may be permitted to seek a ruling on the record.
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      Accordingly, the following is ORDERED:

      •    Respondent shall file a status report, by no later than Friday, April 30,
           2021, setting forth how Respondent intends to proceed in this case.


     Any questions about this order or about this case generally may be directed to
OSM staff attorney Reiko Suber at (202) 357-6378 or
Reiko_Suber@cfc.uscourts.gov.

IT IS SO ORDERED.
                                               s/Brian H. Corcoran
                                               Brian H. Corcoran
                                               Chief Special Master




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